               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                             CENTRAL DIVISION

                                      MINUTE SHEET

UNITED STATES OF AMERICA                             Date:   July 26, 2016

vs.                                                  Case No.: 2:13-CR-4051-BCW-03

JESUS GUZMAN-VAZQUEZ



Honorable Brian C. Wimes, presiding at Jefferson City, Missouri

Nature of Hearing: Sentencing

Time Commenced: 11:45 am                              Time Terminated: 11:57 am

                                      APPEARANCES

Plaintiff=s counsel: Jim Lynn
Defendant=s counsel: James L. Spies
Probation officer: Jaime Drummond
Interpreter: Maria Cepeda


PROCEEDINGS IN COURTROOM: Above parties present. Interpreter sworn. Court
         adopts Report and Recommendation on Plea of Guilty (Doc #219). There are
         no objections to the Presentence Report and Court adopts P.S.I.R. without
         change. Court asserts statutory guidelines. Counsel makes sentence
         recommendations. Defendant accorded allocution.

SENTENCE: Defendant committed to the custody of the BOP for 24 months on Count 1 of
          the Second Superseding Indictment; followed by 2 years supervised release on
          Count 1 of the Second Superseding Indictment. FINE: waived; MSA: $100.
          Restitution not ordered. Dft advised of right to appeal. All remaining
          counts dismissed upon motion by the Government.



Court Reporter: Denise Halasey
Courtroom Deputy: Carrie James




      Case 2:13-cr-04051-BCW       Document 365      Filed 07/26/16   Page 1 of 1
